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Exhibit 2
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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

In re: NEURONTIN MDL Docket No. 1629
_MARKETING, SALES Master File No.
PRACTICES and PRODUCTS 04-10981
LIABILITY LITIGATION Judge Patti B. Saris
Magistrate Judge
Leo T. Sorokin

RUTH SMITH,

Plaintiff, C. A. No. 0O5-11515
Vv.

PFIZER, INC., et al.,

' Defendants.

Videotaped Deposition of:
EDWARD MACKEY, M.D.

Wednesday, May 23, 2007

 

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Page 26
1 rep that Neurontin would be the topic, the 1 Q. (By Mr. Lanier) Do you rely on the
2 medical liaison prepared the presentation. Do 2 drug companies to tell you both the, the good ;
. 3. you see that? 3 and the bad and the ugly about their drugs, be
4 And then subpart C, among the 4 honest about it? !
5 topics of the presentation was the use of 5 A. Yes. :
6 Neurontin for unapproved uses. Do you see 6 Q. Don't doctors like you, who are busy :
7 that, sir? 7 treating people, have to rely upon drug :
8 A. Ido. 8 companies to tell you the truth? I mean would :
9 Q. During the presentation, in the 9 you have time to go out and, and do major
10 presence of the sales rep, the medical liaison 10 medical research on every drug you prescribe? ;
11 promoted the use of Neurontin in the treatment 11 A. No.
12 ofanumber of unapproved uses. Do you see | 12 MR. FERGUSON: Object to form. :
13 that as well? 13 Excuse me, Doctor. Sorry. i
14 A. Ido. 14 Q. (By Mr. Lanier) When you prescribed '
15 Q. Another example of this, sir, is given 15 Neurontin to Mr. Smith, did you do it for i
16 on page 10. Ifyou would flip there, please. 16 pain -- ;
17 A. Um-hum. 17 A. Yes. :
18 Q. Paragraph 27, it's talking about 18 Q. --relief? ce
19 another conference where the physicians in 19 A. Yes.
20 attendance, among the presentations made to the 20 Q. Now, how important is it to you --
21 physicians in attendance was one relating to 21 well, let me take a step back. I didn't ask
22 unapproved uses entitled Reduction of Pain 22 you this. Where did you learn it might work
23 Symptoms During Treatment with Gabapentin. Do | 23 for pain relief? Was it from the doctors in
24 you understand gabapentin is the technical name 24 your clinic? Was it from -- do you know?
25 for Neurontin? 25 A. Ah, not exactly. I certainly spent :
uM Page 27 Page 29
1 A. Ido. 1 some time trying to find out where I first
2 Q. __ It says during this presentation 2 heard about it, and then subsequently different
3 Neurontin was promoted for use in the treatment 3 sources going forward, and -- but I can't tell
4 of pain. Do you see that as well? 4 you exactly who.
5 A. Ido. 5 Q. Iwould assume, we've got a chance to
6 Q. Now, sir, during your medical career, 6 look at -- the Pfizer folks were putting a lot ;
7 either through interactions with the doctors in 7 of samples in your office of this drug? i
8 your clinic or through going to any of these 8 A. Yes. ;
9 presentations or through reading what other 9 Q. And they were making calls not just on :
10 people are saying, had you been under the 10 Dr. Clendenin but, oh, there is another doc, ;
11 impression that Neurontin was effective for 11 Dr. Nichols. Do you know a Dr. Nichols? ;
12 pain relief in a person like Mr. Smith? 12 A. Dr. Nichols and Dr. Clendenin are both :
13 A. Yes. 13 pain, what we call physical medicine rehab.
14 Q. When you make determinations like this, 14 They deal with a lot of chronic pain issues. ;
15 Jasked you this earlier but the question was 15 Q. Okay. ;
16 objected to, so I got to reask it in another 16 A. So-- and they're partners, and
17 form. 17 partners within our group. :
18 Do you go out there and do your 18 Q. Okay. Now they're not shingles
19 own independent medical research on drugs 19 doctors, though, are they?
20 before you prescribe them? 20 A. No, they are not. i
21 A. No. 21 Q._ They are not epileptic doctors, are :
22 Q. Do you rely upon the drug companies to 22 they?
-23 be honest and forthright with you? 23 A. No. i
24 MR. FERGUSON: Object to form. 24 Q. So when the Pfizer people were making :
25 A. Yes. 25 F

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sales calls on them for Neurontin and giving

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8 (Pages 26 to 29)
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Page 30 Page 32
1 them Neurontin, by definition they're not doing 1 probably objectionable, so get ready -- get on
2 it for the label reasons, they're not doing it 2 the edge of your seat.
3 for shingles or, or epilepsy, are they? 3 MR. FERGUSON: Thanks for the
4 MR. FERGUSON: Object to form. 4 tip.
5 A. Certainly neither Clendenin nor Nichols 5 MR. LANIER: Allright. I'm
6 treat seizures. 6 just warning you.
7 Q. Okay. 7 MR. STAHL: Do you want someone
8 A. They may have had an occasion to treat 8 to rule on it too?
9 postherpetic neuralgia. 9 MR. LANIER: No. I'm telling
10 Q. Okay. 10 you, we can, we can do the whole thing.
11 A. But clearly not the dominant reason 11 _No, this is, this is just what I call
12 they prescribed it. 12 __ sign-posting. I'm just telling you where
13 Q. (By Mr. Lanier) Right. And I assume 13 ‘I'm going. I can't play this to the jury,
14 you would interact with these folks enough to 14 so they're going to object and make sure I
15 know if, if they're being told that Neurontin's 15 —_ don't play it to the jury, and I'll
16 effective for pain and the samples are being 16 stipulate right now this is probably
17 given, would that be one of the places where 17 — something I can't play to the jury.
18 you would have gotten some of your knowledge 18 Here it is:
19 about possibly using it? 19 Q. (®yMr. Lanier) One of the pleadings
20 MR. FERGUSON: Object to form. 20 that Pfizer has filed in this case indicates
21 A. Yeah, the rule -- the sort of the setup 21 that Pfizer's saying that this isn't their
22 inour office, the PM&R guys handle 22 fault, that you are what's called a learned
23 non-operative back and pain. I'm a spine 23 intermediary, and by that they mean you knew
24 surgeon, and I do a lot of the operative, but 24 everything there was to know about this drug
25 clearly I have patients who have pain issues, 25 and you decided to prescribe it, so don't blame
Page 31 Page 33
_ 1 either operative or non-operative, that I rely 1 them, blame you.
2 on them to some extent to guide me. 2 Obviously we don't blame you.
3 Q. Okay. I guess what I'm driving at is, 3 We don't see that you have done anything wrong
4 J don't show that the Pfizer people directly 4 atall.
3 went to you and said, Here, use Neurontin for 5 But because they say that you're
6 pain. I see that they went to your partners 6 the learned intermediary, I got to ask you some
7 that are the pain specialists in the clinic, 7 questions about did you know all this kind of
8 and, and I'm trying to figure out if, if that 8 stuff and see if you knew what they think you
9 would have had an influence on your 9 knew.
10 prescription writing when you're writing 10 Do you want to object to that?
11 something for pain before you do a surgery to 11 MR. FERGUSON: Yeah, can I go
12 see if conservative treatment would work. 12 ahead and object?
13 MR. FERGUSON: Object to form. 13 And also say it's not true what
14 Q. (By Mr. Lanier) Would it have any 14 he said.
15 bearing on you? 15 MR. LANIER: Oh, so you're
16 A. Idefinitely interact with Clendenin 16 waiving -- you will not assert a learned
17 and Nichols on a regular basis. 17 intermediary defense? Then I can skip
18 Q. Great. 18 these.
19 A. And the issues of pain management come 19 MR. FERGUSON: There is no -- no
20 up regularly, my asking them for input advice, 20 one's blaming you, Doctor.
21 not just on this but other issues than that. 21 MR. LANIER: Are you asserting a
22 Q._ Fair enough. 22 learned intermediary defense?
23 Now, Doctor, had you ever -- all 23 MR. FERGUSON: We're asserting
24 right. Let me, let me back up and explain why 24 the defenses we've asserted.
25

Lenny aan

I'm asking these questions. And this i is

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25 A. Press on.

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9 “(Pages 30 to 33)
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Page 34 Page 36
1 Q. (By Mr. Lanier) Doctor, did anyone 1 paragraph has got the suicide, and then the
2 ever tell you or did you know that taking 2 bottom paragraph has got the reference to
., 3. Neurontin reduces the serotonin in the brain? 3 clinically important depression.
4 MR. FERGUSON: Object to form. 4 Q. Noone ever told you about that, did
5 A. No. 5 they?
6 Q. (By Mr. Lanier) Would you have liked 6 MR. FERGUSON: Object to form.
7 to have known such a fact -- 7 A. No.
8 MR. FERGUSON: Object to form. 8 Q. (ByMr. Lanier) Am I correct, no one
9 Q. (By Mr. Lanier) -- before you started 9 ever told you about that?
10 prescribing it for pain? 10 A. No.
11 MR. FERGUSON: Object to form. 11 Q. No, as inno, they did not tell you?
12 A. I don't know how it would have impacted 12 A. No, they did not tell me.
13 me one way or the other. 13 Q. Allright. Is that the kind of thing
14 Q. (ByMr. Lanier) All right. Would 14 that would be important to know before you
15 you -- did -- did you know before you 15 start prescribing a drug?
16. prescribed it that the FDA, before they 16 MR. FERGUSON: Object to form.
17 approved the drug for the very limited purposes 17 A. Yes.
18 they approved it for, that the FDA specifically 18 Q. (By Mr. Lanier) All right. Because if
19 said to ultimately Pfizer that a serious event 19 you're going -- if you have got a drug that,
20 might limit the drug's widespread usefulness, 20 that may cause suicide, clinically significant
21 several of them actually, the third being 21 depression, you probably had other optional
22 depression, specifically. While it may not be 22 drugs you could have given Mr. Smith that, that
23 an infrequent occurrence in the epileptic 23 don't seem to have that side effect; true?
24 population, depression may become worse and 24 MR. FERGUSON: Object to form.
25 require intervention or lead to suicide as it's 25 A. Potentially, yes. , ;
“% Page 35 Page 37
_ 1 resulted in some suicidal attempts. 1 Q. (By Mr. Lanier) And, and at least if
2 Did you know about that concern 2 you're going to prescribe a drug that might
3 on this drug before you prescribed it? 3 have those side effects, if you know about them
4 A. No. 4 ahead of time, you would be able to warn the
5 MR. FERGUSON: Object to form. 5 patient, --
6 And could you identify what document you 6 A. Yes.
7 were reading from, please? 7 Q. -- wouldn't you?
8 MR. LANIER: Yeah. This is a 8 A. Yes.
2 1993 document that was -- we had to get 9 Q. Now, did anybody at either Pfizer or
10 through the Freedom of Information Act 10 Warner-Lambert or any of your partners or
11 because it was not widely available. 11 anybody out there tell you about some of the
12 Pll mark it as Exhibit 6. 12 testing that was done on this drug by the
13 (Exhibit 6 marked.) 13 company where the testing itself showed pretty
14 Q. (By Mr. Lanier) This is an FDA 14 clearly that this drug leads to suicide?
15 document. 15 MR. FERGUSON: Object to form.
16 I'm assuming you have never seen 16 Q. (By Mr. Lanier) Do you know about any
17 this document before. 17 of those tests?
18 A. No. 18 MR. FERGUSON: Same objection.
19 Q. Allright. On page 117 it talks about 19 A. I'm not aware of any of those tests.
20 problems with suicide. It talks about -- let 20 Q. (By Mr. Lanier) Did you know anything
21 me show you the ~~ 21 about -- have you ever heard of a doctor whose
22 A. I'm looking at it. 22 name is Dr. David Franklin?
23 MR. FERGUSON: It's the third 23 A. No.
24 paragraph? 24 Q. Dr. Franklin -- I'm going to give you
25 MR. LANIER: Yes, third 25 an exhibit we'll mark as Exhibit 7. And it's

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Page 38 Page 40
1 an affidavit of Dr. Franklin. 1 A. Yes.
| 2 MR. LANIER: Noel, here's a copy 2 Q. Paragraph 17. I was trained and
.; 3 for you. I don't mean to exclude you from 3 instructed to misrepresent the amount of
4 this. 4 clinical evidence available to support the use
5 MR. STAHL: That's fine. 5 of Neurontin. You see that?
6 MR. LANIER: I apologize. 6 A. Ido.
7 MR. FERGUSON: He'll read it 7 Q. Little bit further down in that
8 tonight. 8 paragraph, I was instructed to lead doctors to
9 MR. LANIER: He'll spend a lot 9 believe that Dr. Bruce Ehrenberg's 160 patients
10 _—_ of time pouring over this affidavit. 10 were enrolled in a well controlled clinical
11 (Exhibit 7 marked.) 11 trial and were achieving a 90 percent response
12 Q. This is an affidavit for a fella. You 12 rate. This was untrue. Do you see that as
13 can get an idea of who he is just by looking at 13 well?
14 the beginning. 14 MR. FERGUSON: Object to form.
15 He is a Ph.D., did a two-year 15 A. Yes, I see it.
16 research fellowship with Harvard Med School and | 16 Q. (By Mr. Lanier) On page 7, paragraph
17 Dana-Farber. And if you will look on page 2, 17 21, it's got a transcript from a phone message
18 he was hired, in paragraph 6, by Warner- 18 left by a Phil Magistro the ultimately Pfizer
19 Lambert's Parke-Davis division to work as a 19 medical director of affairs for the northeast
20 medical liaison. And he didn't do it long. He 20 business unit. Do you see the single-spaced
21 did it for just a little over four months, when 21. statement, the transcript?
22 he quit, effective immediately. Didn't even 22 MR. FERGUSON: Object to form.
23 give two weeks' notice. Do you see that? 23 Q. (By Mr. Lanier) There in paragraph 21,
24 A. Yes. 24 the single space, do you see that?
25 Q. Allright. This gentleman -- if you'll 25 A. Yes.
*, Page 39 Page 41
1 turn to page 4, you will see paragraph 15. I 1 Q. _ Itsays, Medical liaisons, this is
2 was trained and instructed to tell physicians 2 Phil. I'm calling in regard to the, you know,
3 that Parke-Davis had statistically significant 3 there's a Neurontin push that's supposed to be
4 data that indicated Neurontin was highly 4 on. What we'd like you to do is, any time
5 effective in the treatment of a variety of 5 you're called out, just make sure you're --
6 syndromes. Then he includes a bunch, ALS, 6 that your main focus out of what you're doing
7 bipolar disorder, painful diabetic neuropathy, 7 is on Neurontin. I'm not saying don't do
8 peripheral neuropathy. 8 Accupril calls, but the idea is you're supposed
9 Neuropathy, is that nerve pain? 9 to be pushing on Neurontin. | think some
10 A. Yes, 10 people have lost that message, and I think a
11 Q. Is -- that may be one of the problems 11 lot may be somewhat ineffectual in that regard.
12 that was possibly, a possible diagnosis for 12 So what we need to do is focus on Neurontin.
13 Mr. Smith? 13 When we get out there, we want to kick some A
14 A. Yes. 14 on Neurontin. We want to sell Neurontin on
15 Q. And then there are some others listed 15 pain, all right? And mono therapy, and
16 there. He actually says, I made those 16 everything that we can talk about, that's what
17 representations, and he lists doctors that he 17 we want to do, because I'm embarrassed. I
18 made them to. And says, I witnessed as part of 18 don't know if you guys are embarrassed, but I'm
19 my on-the-job training some others represent 19 embarrassed about where we are with Neurontin.
20 that it was safe and effective for those 20 We got to take it into our own hands and really
21 unapproved indications. 21 kick some A on it. All right? Let's do it up.
22 Then look at paragraph 16. 22 Talk to you soon. Bye. See that?
23 Parke-Davis had no significant data from 23 A. Yes.
24 Clinical trials to support those 24 Q. Paragraph 22, I was trained and
2 5 representations. Do you see e that? 25 instructed to use a number of misleading

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Page 42 Page 44}
1 abstracts and case reports in promoting 1 Q. Allright. How did you find out about
2 Parke-Davis's prescription drugs, including 2 his death?
3 Neurontin, for a variety of medically 3 A. His wife called our office and spoke
4 unacceptable uses. Do you see that as well? 4 with our telephone answering operator and then
5 A. Yes. 5 spoke with my nurse.
6 Q. Sir, as a doctor, is it important to 6 Q. Okay. Did you by any chance file a
7 you that drug companies put patient safety 7 MedWatch report with the FDA after this, do you
8 first? 8 know?
9 A. Yes. 9 A. Idon't know. I don't think I've
10 Q. Is it important to you that drug 10 ever -- I don't know to do that or --
11 companies follow FDA instructions and rules and | 11 Q. Yeah. I didn't think so, but I didn't
12 guidelines -- 12 see one, and [ just wasn't sure.
13 MR. FERGUSON: Object to form. 13 MR. LANIER: I'm going to, I've
14 Q._ -- about what they're telling you and 14 ~—_ used 45 of my minutes. I'm going to save
15 what they're not? 15 my other 45. I'm going to pass the witness
16 A. Yes. 16 and see if he can really do it in 44.
17 Q. (By Mr. Lanier) Now if you had been 17 MR. FERGUSON: Doctor, are you
18 told either in the labeling information or 18 doing okay? Do you need a break or
19 through sales reps or, Dr. Mackey, through your 19 anything?
20 partners, if you had been told that Neurontin 20 THE WITNESS: I'm okay.
21 was a drug with some of the problems we've 21 CROSS-EXAMINATION
22 talked about so far today, would it have 22 BY MR. FERGUSON:
23 changed the way you treated Mr. Smith? 23 Q. Dr. Mackey, we met briefly before the
24 MR. FERGUSON: Object to form. 24 deposition. My name is Ken Ferguson. |
25 A. Possibly. Probably. 25 represent Pfizer in this matter. Do you
Page 43 Page 45
1 Q. (By Mr. Lanier) Probably. And by 1 understand that?
2 probably, would it have meant you would have 2 A. Yes.
3 either tried another drug first, or would you 3 Q. Doctor, you graduated from Dartmouth
4 have at least put out some warnings and some 4 undergrad; correct?
5 safeties and precautions and told them what to 5 A. Yes.
6 be observant about? 6 Q. And you went to Vanderbilt University
7 MR. FERGUSON: Object to form. 7 Medical School right here?
8 A. Certainly I would have done the 8 A. Yes.
9 latter. 9 Q. You're board certified in orthopedic
10 Q. Okay. 10 surgery?
11 A. And IJ don't know about the former. 11 A. Tam.
12 Q. (By Mr. Lanier) All right. Now if 12 Q. You're board certified in spine surgery
13 someone's at risk of -- I don't know that you 13 also; correct?
14 see often someone that you consider a suicide 14 A. Yes.
15 risk in your practice, but if you see someone 15 Q. Generally, do you make your own
16 that presents that you think is a serious 16 decisions about how you treat your patients?
17 candidate for suicide, | would assume you would |17 A. Yes.
18 do something about that. There is some 18 Q. Nobody's going to tell you how to treat
19 protocol. 19 your patients, are they?
20 A. Yes. 20 A. No.
21 Q. Okay. Mr. Smith, when he presented to 21 Q. I want to follow up a bit on some of
22 you, I've read through your chart, there's 22 the care and treatment you actually performed
‘23 nothing about him that made you think he was a 23 on Mr. Smith, if] could, okay?
24 suicide risk when he presented, was there? 24 Mr. Lanier spoke about that
A. No. 25

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briefly. Let me ask you some questions.

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Page 70 Page 725

Lortab. The, the extent of that, other pain
management options, I'm not, I'm not aware
of.

Q. Do you have any knowledge one way or
the other, and I didn't see it in your notes,

as to whether or not the Neurontin was giving
my Smith any relief during the period that you
were seeing him?

A. I don't know one way or the other.

Q. Let's talk for a minute about pain
medications, Doctor. As an orthopedic surgeon,
do you regularly have to prescribe pain

A. It's a second or third line drug.

Q. Ifyou try other medications and they
don't work, then you may try someone on a
course of Neurontin?

A. I will.

Q. Soclearly for some patients, at this
time even, you think that the benefits of
Neurontin for them outweighs the risks?
A. Yes.

Q. With regard to the medications, pain
medications you prescribed, do you prescribe
any narcotic pain medications?

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medications? 13 A. Yes.

A. . Yes. 14 Q. What are some of the names of those?
Q. Do you prescribe different medications 15 A. Lortab, hydrocodone.

for acute pain versus chronic pain, 16 Q. Do those medications carry significant

postsurgical pain, do you provide that? 17 risks?
A. Yes. 18 A. Yes,
Q. What are -- let's take the overall for 19 Q. Such as?

No
oO

pain. What are the, kind of the most common
medications you prescribe for pain? And let's
talk about the 2004 time period.

A. Okay. Postsurgical pain?

A. Addiction, depression, confusion.

Q. So even, even Lortab, a narcotic pain
reliever, first of all has an addictive
potential; correct?

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Q. Sure, we'll go with postsurgical. 24 A. Yes.
A. Usually will prescribe a pain medicine 25 Q. But it also has the risk of causing

Page 71 Page 7
such as hydrocodone, Lortab, and a muscle 1 depression to your understanding?
relaxer such as Flexeril, Soma. 2 A. Yes.
Q. How about for chronic pain, chronic 3 Q. Is it true that, that many beneficial
long-term pain that may be joint pain? What 4 medications carry significant or very serious
kind of medications during that time frame 5 risks?
would you were you commonly prescribing? 6 A. Yes.
A. _ If Vioxx and Bextra were still on the 7 Q. Even penicillin; correct?
market, I'd use those. Celebrex, Naprosyn. 8 A. Yes.
When you get much past that, I try to send that 9 Q. Virtually all prescription medications
out. I don't do chronic, long-term pain 10 carry some risk; correct?
management. 11 A. Yes.
Q. And of course Neurontin was one of the 12 Q. When you are prescribing a medication,
medications you would prescribe during the 2004 | 13 you have to determine in your professional
time period as well? 14 opinion whether the benefits of that medication
A. Yes, 15 outweigh the risks for that particular patient;
Q. And for some period, you can't recall 16 correct?
how long before that, you had prescribed 17 A. Based on the available information I
Neurontin? 18 have to me, I try to do what's best for my
A. I think you'd probably date back to my 19 patient in any given circumstance.
fellowship. 20 Q. And let's talk about what sources of
Q. Are you currently prescribing Neurontin 21 information you have about risks and benefits
for any patients? 22 of medications. First of all, you have the
A. Very infrequently. 23 product labeling which we -- was discussed
Q. But you do still prescribe for some 24 earlier; correct? The PDR.
patients? 25 A. Yes.

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19 (Pages 70 to 7

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Page 114 Page 116 4

1 Still believes that Neurontin is the gold 1 Q. The first one says, As usual, ;

2 standard. 2 Dr. Nichols was in a hurry, said he was using
:3 Again, that's a comment from 3 more Neurontin; correct? :

4 Dr. Clendenin, not a comment from the sales 4 A. Yes. :

5 representatives; correct? 5 Q. The next one, Dr. Nichols stated that

6 A. Yes. 6 he uses lots of Neurontin in his patient ;

7 Q. And again I won't take up your time by 7 population. ;

8 going through each and every one of these, but 8 A. Yes. :

9 I'll represent that the, the information in 9 Q. Next one, seems to love Neurontin but ;
10 these indicate that the doctors are giving 10 doesn't even use the 100s. i
11 sales rep information, not vice versa. 11 A. Yes.
12 And whether there was 12 Q. Next one, Dr. Nichols seems to like ;
13 information going -- 13 Neurontin, although he is hard to read. :
14 MR. LANIER: Objection; form. 14 A. Yes. :
15 MR. FERGUSON: You through 15 Q. Okay. This page that we just read and
16 laughing? 16 the other ones I discussed with you, and I am '
17 MR. LANIER: I don't know. 17 not going to take you through each and every
18 MR. FERGUSON: Okay. 18 one, but you don’t know what communications :
19 MR. LANIER: If1 chew on it 19 occurred in these other than whatever
20 more, I may start laughing again. But I'm 20 information you get from these pages; correct?
21 objecting to the form. 21 A. That's correct. i
22 MR. FERGUSON: Let me know when |22 Q. What the sales rep was or was not :
23 you're done. That's fair enough. 23 talking to the doctor about you don't know; :
24 MR. LANIER: He was laughing 24 correct?
25. too. Get on Noel's case. 25 A. Ido not know. :
Page 115 Page 117 ;

1 THE WITNESS: Hey. 1 Q. Okay. And actually looking at the :

2 MR. STAHL: Have I said 2 notations we've looked at, your colleagues who f

3 anything? 3 work with pain really seem to like Neurontin?

4 Q. (By Mr. Ferguson) Is there any 4 A. Yes.

5 information in any of these, Doctor, that you 5 Q. Okay. And it seems to work for their

6 have seen and we have talked about that 6 patients?

7 indicates that the sales representative was 7 A. Based on what she wrote down, yes.

8 telling the doctor about any particular uses 8 Q. Correct. And that's all we're dealing

9 for Neurontin? 9 with right now?
10 MR. LANIER: He hadn't read them 10 A. Correct.
11 all. 11 Q. So based upon what she wrote down, your
12 MR. FERGUSON: Okay. 12 colleagues in your office who work with pain :
13 Well, let's read them all then. 13 patients believe that Neurontin assists those :
14 MR. LANIER: Yeah. 14 patients with their pain. ;
15 MR. FERGUSON: Page 1, page 2. 15 A. Based on what we have in this record, :
16 MR. LANIER: I'd start with page 16 ‘yes. :
17 15. That'll cut to the chase and he'll get 17 MR. FERGUSON: Thank you,
18 out of here sooner. 18 Doctor. :
19 THE WITNESS: J appreciate that. 19 REDIRECT EXAMINATION
20 MR. FERGUSON: Okay. I'll do 20 BY MR. LANIER :
21 page 15. 21 Q. When it says on the note Neurontin ;
22 MR. LANIER: Yeah. 22 safety discussion, a discussion kindofmeansa_ sf
23 Q. (By Mr. Ferguson) Page 15. There are 23 back and forth, doesn't it?

_24 four notations in there; correct?

25 A. Yes.

DAUsat Star es Eee Ree an eR TT

NECN IE NRRL ENMU

 

24
25

Sane ee

A. Yes, it does.
2. All Tight. Next subject: You were

Se ee aL cee

30

Aa ee TTR

(Pages 114 to 117)
